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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                           Civil Division


CONRAD SMITH, ET AL.

          Plaintiffs,                                 Civil Action No. 1:21-cv-02265-APM

v.

DONALD J. TRUMP FOR PRESIDENT,
INC., ET AL.

          Defendants.


 DEFENDANT KELLY MEGGS’ MEMORANDUM OF POINTS AND AUTHORITIES
           IN SUPPORT OF MOTION FOR PROTECIVE ORDER

          Defendant Kelly Meggs, by undersigned counsel, hereby submits the following

Memorandum of Points and Authorities in support of his Motion for Protective Order.

     I.       INTRODUCTION

          The background of this case is well known to the Court. The Plaintiffs filed this

lawsuit on August 26, 2021 and Amended their Complaint on December 3, 2021. ECF Nos. 1,

89. On or about December 23, 2021, Defendant Kelly Meggs filed his Motion To Dismiss

Plaintiffs’ Amended Complaint Pursuant To Rule 12(B)(1) and Rule 12(B)(6), (ECF 110), which

Plaintiffs Opposed on or about January 17, 2022, (ECF 118). Defendant Mr. Meggs filed a Reply on

January 31, 2022, (ECF 127). In ECF 110, Mr. Meggs requested Oral Argument in his filed Motion

to Dismiss Plaintiffs’ Amended Complaint Pursuant To Rule 12(B)(1) And Rule 12(B)(6), which the

court has not yet scheduled.

          In the case at bar, Defendant has raised both jurisdictional defenses and constitutional

defenses, as well as a failure to state a cause of action under Rule 12(B)1 and Rule 12(B)(6). The
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42 § 1985 (1) claim lacks a factual predicate for standing, state action, or that there is a lack of a

legal factual predicate under 42 § 1985 (1) or § 1986. Plaintiffs make no attempt to plead

irreparable injury, or a likelihood of success, and Plaintiffs certainly do not allege their claims with

particularity. There is further a failure to state a claim because there are no specific facts plead to

support any contact or threats or communications with these individual Plaintiffs, and a lack of

any alleged factual predicate to support the statutory requirements of a hate crime.

        At this time, Mr. Meggs is currently being criminally prosecuted based upon the related

events of January 6, 2021, presently scheduled for a trial estimated for four weeks, to begin on

September 26, 2022. (U.S. v. Stewart Rhodes, 22cr00015-APM).

    A. PLAINTIFFS’ REQUEST

        Counsel for the undersigned requested a continuance of a Rule 26(f) Conference from the

Plaintiffs, due to both the undue burden of preparing for the criminal action on the same or similar

allegations, in which undersigned counsel was only recently and conditionally substituted as

defense counsel in the criminal action. 1 The burden exists not only because of the timing for

preparation of the criminal case, and the voluminous discovery in that case, but also because the

Government has a Protective Order over much of the discovery in that case, making Initial

Disclosures more challenging at this time. Moreover, Mr. Meggs’ has Fifth Amendment rights

that make disclosing discovery at this time, just weeks before trial strategy in the criminal case

will occur, but Plaintiffs’ have not agreed to the relief requested.

        Plaintiffs currently seek the scheduling of a Rule 26(f) Initial Conference without

considering any request for a delay. As this court knows, Rule 26(f) requires the parties plan and

confer on “the nature and basis of their claims and defenses and the possibilities for promptly


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 See U.S. v. Rhodes, 22-cr-00015-APM, Substitution of Counsel granted on Conditional Basis in
Court Minute Order of May 18, 2022
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settling or resolving the case; make or arrange for the disclosures required by Rule 26(a)(1);

discuss any issues about preserving discoverable information; and develop a proposed discovery

plan…” Rule 26(a)(1)(C) of course requires that Initial Disclosures be made with fourteen (14)

days of a Rule 26(f) Conference.

   II.      ARGUMENT

         Mr. Meggs hereby adopts and incorporates Mr. Straka’s Brandon J. Straka’s Motion To

Stay Discovery Pending Resolution Of His Motion To Dismiss, ECF 149.

                The Standard for Entry of a Protective Order


         The law in this Circuit holds that, Clearly, the decision whether to stay discovery is

committed to the sound discretion of the district court judge. See Fed. R. Civ. P. 26(c) ("the court .

. . may make any order which justice requires"); Fed. R. Civ. P. 56(f) ("the court . . . may order a

continuance to permit . . . discovery . . . or may make such order as is just"). White v. Fraternal

Order of Police, 909 F.2d 512, 517, (D.C. Cir. 1990).

          For good cause shown, Federal Courts are authorized to restrict discovery that is

 annoying, embarrassing, oppressive, unduly burdensome and/or expensive. See Fed. R. Civ.

 P. Rule 26(c). Broad discretion is conferred on this Court to enter protective orders as necessary

 to prevent discovery abuse. Seattle Times Co. v. Rhinehart, 467 U.S. 20, 36 (1984). Under

 Rule 26(c), good cause exists when justice requires the protection of a party or a person

 from any annoyance, embarrassment, oppression, or undue burden or expense, and further,

 when proprietary information is at stake. Friends of the Earth v. United States DOI, 236 F.R.D.

 39, 41 (D.D.C. 2006). In this litigation, good cause arises from a need to obviate undue burden

 with a parallel criminal action, as well as the improper use of protected information.

          Rule 26(c) reads as follows:


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              Protective Orders. Upon motion by a party or by the person from whom
              discovery is sought, accompanied by a certification that the movant has in good
              faith conferred or attempted to confer with other affected parties in an effort
              to resolve the dispute without court action, and for good cause shown, the
              court in which the action is pending or alternatively, on matters relating to a
              deposition, the court in the district where the deposition is to be taken may
              make any order which justice requires to protect a party or person from
              annoyance, embarrassment, oppression, or undue burden or expense, including
              one or more of the following:

         a. that the disclosure or discovery not be had;

         b. that the disclosure or discovery may be had only on specified terms and
            conditions, including a designation of the time or place;

         c. that the discovery may be had only by a method of discovery other than that
            selected by the party seeking discovery;

         d. that certain matters not be inquired into, or that the scope of the disclosure or
            discovery be limited to certain matters;

         e. that discovery be conducted with no one present except persons designated by
            the court;

         f. that a deposition, after being sealed, be opened only by order of the court;

         g. that a trade secret or other confidential research, development, or commercial
            information not be revealed or be revealed only in a designated way; and

         h. that the parties simultaneously file specified documents or information enclosed
            in sealed envelopes to be opened as directed by the court.

Fed. R. Civ. P. Rule 26(c).

      …As the Supreme Court has explained, this rule "confers broad discretion on the
      trial court to decide when a protective order is appropriate and what degree of
      protection is required." Seattle Times Co. v. Rhinehart, 467 U.S. 20, 36, 81 L. Ed.
      2d 17, 104 S. Ct. 2199 (1984). In exercising this discretion, a court is to engage
      in a "balancing of various factors: the requester's need for information . . . , its
      relevance to the litigation at hand, the burden of producing the sought-after
      material, and the harm which disclosure would cause to the party seeking to
      protect the information." Burka v. United States Department of Health and
      Human Servs., 318 U.S. App. D.C. 274, 87 F.3d 508, 517 (D.C. Cir 1996). In


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           crafting a protective order, a court may "limit the conditions, time, place, or topics
           of discovery; or limit the manner in which a trade secret or other confidential
           research, development, or commercial information may be revealed." 87 F.3d at
           518.
            Amfac Resorts, LLC v. United States DOI, 143 F. Supp. 2d 7, 15 (D.D.C. 2001).

            As made clear, the Supreme Court has explained, this rule “confers broad discretion on

 the trial court to decide when a protective order is appropriate and what degree of protection is

 required.” Seattle Times Co., 467 U.S. 20. Therefore, to obtain protection from Plaintiffs’

 discovery demands, Defendant need only demonstrate good cause with some specificity

 regarding how harm may occur by the disclosure. See Friends of the Earth, 236 F.R.D. at

 41.

            In this case, there is good cause to limit the review of discovery at this time, because

 discovery now would be unduly burdensome on undersigned counsel who has only recently

 been conditionally substituted as counsel for Mr. Meggs in the criminal action, currently

 scheduled for a four-week trial beginning on September 26, 2022. That case involves hundreds

 of hours of video discovery, electronic records and case strategy and analysis with a client who

 currently remains in detention. This in light of the fact that oral argument has not yet been

 scheduled on the pending, potentially, fully dispositive motions in this case. As this court is

 aware, initial Disclosures would further be complicated because of the protective order

 undersigned counsel is subject to in the criminal action, and Mr. Meggs’ Fifth Amendment

 rights.

           It is, therefore, respectfully requested that the Court enter a Protective Order in this civil

proceeding to temporarily limit discovery, including initial disclosures, until this court has ruled




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upon the pending motions and the September 26th trial has concluded, or has otherwise been

continued.



Dated: July 21, 2022

                                               Respectfully Submitted,



                                                       /s/ Juli Z. Haller
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                                               Counsel for Defendant, Kelly Meggs


                                  CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on the 21st day of July, 2022, a copy of the foregoing Motion for

Protective Order, the attached Memorandum in support thereof, and the Proposed Form of Order

was filed electronically to serve all counsel of record.



                                                       /s/ Juli Z. Haller
                                               Julia Z. Haller




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